   Case 2:21-cv-00339-JRG Document 1 Filed 08/27/21 Page 1 of 9 PageID #: 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION
                                                  )
 ELITE GAMING TECH, LLC.,                         )    Case No.
                                                  )
                            Plaintiff,            )    JURY TRIAL DEMANDED
                                                  )
            v.                                    )
                                                  )
 ZTE CORPORATION,                                 )
                            Defendant.            )

                       COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Elite Gaming Tech LLC (“EGT” or “Plaintiff”) for its Complaint against

Defendant ZTE Corporation (“ZTE” or “Defendant”) alleges as follows:

                                         THE PARTIES

       1.        EGT is a limited liability company organized and existing under the laws of the

State of Texas, with its principal place of business located at 102 East Crockett Street, Marshall,

Texas 75670.

       2.        Upon information and belief, ZTE Corporation is a corporation organized and

existing under the laws of China, with its principal place of business located at 55 Hi-Tech Road,

South Nanshan District, Shenzhen, 518057 P.R. China, and may be served pursuant to the

provisions of the Hague Convention. ZTE is a leading manufacturer and seller of smartphones

and tablets in the world and in the United States. Upon information and belief, ZTE does business

in Texas and in the Eastern District of Texas, directly or through intermediaries.
   Case 2:21-cv-00339-JRG Document 1 Filed 08/27/21 Page 2 of 9 PageID #: 2




                                          JURISDICTION

        3.      This is an action for patent infringement arising under the patent laws of the United

States, 35 U.S.C. §§ 1, et seq. This Court has jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331 and 1338(a).

        4.      This Court has personal jurisdiction over Defendant. Defendant regularly conducts

business and has committed acts of patent infringement and/or has induced acts of patent

infringement by others in this Judicial District and/or has contributed to patent infringement by

others in this Judicial District, the State of Texas, and elsewhere in the United States.

        5.      Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391 because,

among other things, Defendant is not a resident in the United States, and thus may be sued in any

judicial district pursuant to 28 U.S.C. § 1391(c)(3).

        6.      Defendant is subject to this Court’s jurisdiction pursuant to due process and/or the

Texas Long Arm Statute due at least to its substantial business in this State and Judicial District,

including (a) at least part of its past infringing activities, (b) regularly doing or soliciting business

in Texas, and/or (c) engaging in persistent conduct and/or deriving substantial revenue from goods

and services provided to customers in Texas.

                                        PATENTS-IN-SUIT

        7.      On March 16, 2010, the United States Patent and Trademark Office duly and legally

issued U.S. Patent No. 7,679,604 (the “’604 Patent”) entitled “Method and Apparatus for

Controlling a Computer System.” A true and correct copy of the ’604 Patent is available at:

http://pdfpiw.uspto.gov/.piw?Docid=07679604.

        8.      On August 6, 2013, the United States Patent and Trademark Office duly and legally

issued U.S. Patent No. 8,502,775 (the “’775 Patent”) entitled “Method and Apparatus for




                                                   2
   Case 2:21-cv-00339-JRG Document 1 Filed 08/27/21 Page 3 of 9 PageID #: 3




Controlling a Computing System.” A true and correct copy of the ’604 Patent is available at:

http://pdfpiw.uspto.gov/.piw?Docid=08502775.

       9.      EGT is the sole and exclusive owner of all right, title, and interest in the ’604 Patent

and the ’775 Patent (collectively, the “Patents-in-Suit”), and holds the exclusive right to take all

actions necessary to enforce its rights to the Patents-in-Suit, including the filing of this patent

infringement lawsuit. EGT also has the right to recover all damages for past, present, and future

infringement of the Patents-in-Suit and to seek injunctive relief as appropriate under the law.

       10.     EGT has at all times complied with the marking provisions of 35 U.S.C. § 287 with

respect to the Patents-in-Suit. On information and belief, prior assignees and licensees have also

complied with the marking provisions of 35 U.S.C. § 287.

                                   FACTUAL ALLEGATIONS

       11.     The Patents-in-Suit generally cover systems and methods for use in mobile devices,

laptops, and phones.

       12.     The ’604 and ’775 Patents relates to computer devices having modified one or more

of the operating states or displayed content. The technology described in the ’604 and ’775 Patents

was developed by John T. Orchard and Christopher R. Uhlik. For example, the technology is

implemented by infringing laptops and PCs that contain motion detection sensors and a motion

control agent which modify one or more of the operating states of the computing device based on

input from motion detectors.

       13.     ZTE has infringed and is continuing to infringe the Patents-in-Suit by making,

using, selling, offering to sell, and/or importing, and by actively inducing others to make, use, sell,

offer to sell, and/or import products including, but not limited to, ZTE phones including, but not

limited to, the ZTE Quest 5, ZTE Blade A3 Prime, ZTE Blade 10 Prime, ZTE Blade A7 Prime,




                                                  3
   Case 2:21-cv-00339-JRG Document 1 Filed 08/27/21 Page 4 of 9 PageID #: 4




ZTE Blade Vantage 2, ZTE Visible R2, ZTE ZFIVE G LTE, ZTE Avid 4, ZTE Overture 3, ZTE

Blade X, ZTE Maven 3, ZTE Blade Z MAX, ZTE Blade X Max that infringe the Patents-in-Suit.

                                           COUNT I
                                (Infringement of the ’604 Patent)

       14.     Paragraphs 1 through 13 are incorporated by reference as if fully set forth herein.

       15.     EGT has not licensed or otherwise authorized Defendant to make, use, offer for

sale, sell, or import any products that embody the inventions of the ’604 Patent.

       16.     Defendant has and continues to directly infringe the ’604 Patent, either literally or

under the doctrine of equivalents, without authority and in violation of 35 U.S.C. § 271, by making,

using, offering to sell, selling, and/or importing into the United States products that satisfy each

and every limitation of one or more claims of the ’604 Patent. On information and belief, such

ZTE products include at least the ZTE laptops, tablets, and phones that contains a motion sensor

to detect motion in one or more of six fields.

       17.     For example, Defendant has and continues to directly infringe at least claim 1 of

the ’604 Patent by making, using, offering to sell, selling, and/or importing into the United States

products that contain a motion sensor to detect motion in one or more of six fields.

       18.     On information and belief, the accused ZTE laptops, tablets, and phones, such as

the ZTE DuraForce XD, perform a method for controlling a computer device comprising sensing

an initial motion of said computer device in an initial direction wherein the motion meets or

exceeds an initial motion threshold, sensing a complimentary motion of said computer device in a

reverse direction to the initial direction, wherein the complementary motion meets or exceeds a

complementary motion threshold, and generating at least one control signal configured to modify

an operating state of the device or contention being displayed by the device wherein, upon

information and belief, sensing the initial motion and sensing the complementary motion occurs



                                                 4
   Case 2:21-cv-00339-JRG Document 1 Filed 08/27/21 Page 5 of 9 PageID #: 5




before generating the control signal and wherein the initial or complementary motions comprise

motion in one or more of at least six fields of motion, including lateral x, y, or z motion or rotational

x, y, or z motion.

        19.     Defendant has and continues to indirectly infringe one or more claims of the ’604

Patent by knowingly and intentionally inducing others, including ZTE customers and end-users,

to directly infringe, either literally or under the doctrine of equivalents, by making, using, offering

to sell, selling and/or importing into the United States products that include infringing technology,

such as a motion sensor to detect motion in one or more of six fields.

        20.     Defendant, with knowledge that these products, or the use thereof, infringes the

’604 Patent at least as of the date of this Complaint, knowingly and intentionally induced, and

continues to knowingly and intentionally induce, direct infringement of the ’604 Patent by

providing these products to end-users for use in an infringing manner.

        21.     Defendant induced infringement by others, including end-users, with the intent to

cause infringing acts by others or, in the alternative, with the belief that there was a high probability

that others, including end-users, infringe the ’604 Patent, but while remaining willfully blind to

the infringement.

        22.     EGT has suffered damages as a result of Defendant’s direct and indirect

infringement of the ’604 Patent in an amount to be proved at trial.

        23.     EGT has suffered, and will continue to suffer, irreparable harm as a result of

Defendant’s infringement of the ’604 Patent, for which there is no adequate remedy at law, unless

Defendant’s infringement is enjoined by this Court.

                                           COUNT II
                                 (Infringement of the ’775 Patent)

        24.     Paragraphs 1 through 13 are incorporated by reference as if fully set forth herein.



                                                   5
   Case 2:21-cv-00339-JRG Document 1 Filed 08/27/21 Page 6 of 9 PageID #: 6




       25.     EGT has not licensed or otherwise authorized Defendant to make, use, offer for

sale, sell, or import any products that embody the inventions of the ’775 Patent.

       26.     Defendant has and continues to directly infringe the ’775 Patent, either literally or

under the doctrine of equivalents, without authority and in violation of 35 U.S.C. § 271, by making,

using, offering to sell, selling, and/or importing into the United States products that satisfy each

and every limitation of one or more claims of the ’775 Patent. On information and belief, such

ZTE products include at least the ZTE laptops, tablets, and phones that contain a motion sensor to

detect motion in one or more of six fields.

       27.     For example, Defendant has and continues to directly infringe at least claim 1 of

the ’775 Patent by making, using, offering to sell, selling, and/or importing into the United States

products that contain a motion sensor to detect motion in one or more of six fields.

       28.     On information and belief, the accused ZTE laptops, tablets, and phones, such as

the ZTE DuraForce XD, perform a method sensing a combination of motion of a device by a

motion detection device. The ZTE DuraForce XD generates, in response to combination motion,

a first control signal substantially related to the combination motion to modify content being

displayed by the device. The ZTE DuraForce XD receives input related to a position of a pointer

on a display screen from a pointing device and generates, in response to the received input, a

second control signal. The ZTE DuraForce XD controls the display screen in response to the first

control signal or the second control signal. The combination motion includes an initial motion in

an initial direction sequentially followed by a complementary motion in a complementary

direction. The initial motion or the complementary motion comprises motion in at least one of at

least six fields of motion, including lateral motion about x, y, or z plans or rotational motion about

x, y, or z axes. Sensing the combination motion further comprises sensing that the initial motion




                                                  6
   Case 2:21-cv-00339-JRG Document 1 Filed 08/27/21 Page 7 of 9 PageID #: 7




exceeds an initial motion threshold and sensing that the complementary motion exceeds a

complementary motion threshold. Upon information and belief, sensing the complementary

motion further comprises sensing the complementary motion in a reverse direction to the initial

direction.

        29.     Defendant has and continues to indirectly infringe one or more claims of the ’775

Patent by knowingly and intentionally inducing others, including ZTE customers and end-users,

to directly infringe, either literally or under the doctrine of equivalents, by making, using, offering

to sell, selling and/or importing into the United States products that include infringing technology,

such as a motion sensor to detect motion in one or more of six fields.

        30.     Defendant, with knowledge that these products, or the use thereof, infringe the ’775

Patent at least as of the date of this Complaint, knowingly and intentionally induced, and continues

to knowingly and intentionally induce, direct infringement of the ’775 Patent by providing these

products to end-users for use in an infringing manner.

        31.     Defendants induced infringement by others, including end-users, with the intent to

cause infringing acts by others or, in the alternative, with the belief that there was a high probability

that others, including end-users, infringe the ’775 Patent, but while remaining willfully blind to

the infringement.

        32.     EGT has suffered damages as a result of Defendant’s direct and indirect

infringement of the ’775 Patent in an amount to be proved at trial.

        33.     EGT has suffered, and will continue to suffer, irreparable harm as a result of

Defendant’s infringement of the ’775 Patent, for which there is no adequate remedy at law, unless

Defendant’s infringement is enjoined by this Court.




                                                   7
   Case 2:21-cv-00339-JRG Document 1 Filed 08/27/21 Page 8 of 9 PageID #: 8




                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a jury for all issues so triable.

                                    PRAYER FOR RELIEF

         WHEREFORE, EGT prays for relief against Defendant as follows:

       a.      Entry of judgment declaring that Defendant has directly and/or indirectly infringed

one or more claims of each of the Patents-in-Suit;

       b.      An order pursuant to 35 U.S.C. § 283 permanently enjoining Defendant, its

officers, agents, servants, employees, attorneys, and those persons in active concert or

participation with it, from further acts of infringement of one or more of the Patents-in-Suit;

       c.      An order awarding damages sufficient to compensate EGT for Defendant’s

infringement of the Patents-in-Suit, but in no event less than a reasonable royalty, together with

interest and costs;

       d.      Entry of judgment declaring that this case is exceptional and awarding EGT its

costs and reasonable attorney fees under 35 U.S.C. § 285; and

       e.      Such other and further relief as the Court deems just and proper.

Dated: August 27, 2021                                Respectfully submitted,

                                                      /s/ Vincent J. Rubino, III
                                                      Alfred R. Fabricant
                                                      NY Bar No. 2219392
                                                      Email: ffabricant@fabricantllp.com
                                                      Peter Lambrianakos
                                                      NY Bar No. 2894392
                                                      Email: plambrianakos@fabricantllp.com
                                                      Vincent J. Rubino, III
                                                      NY Bar No. 4557435
                                                      Email: vrubino@fabricantllp.com
                                                      FABRICANT LLP
                                                      411 Theodore Fremd Avenue,
                                                      Suite 206 South
                                                      Rye, New York 10580



                                                 8
Case 2:21-cv-00339-JRG Document 1 Filed 08/27/21 Page 9 of 9 PageID #: 9




                                       Telephone: (212) 257-5797
                                       Facsimile: (212) 257-5796

                                       John Andrew Rubino
                                       NY Bar No. 5020797
                                       Email: jarubino@rubinoip.com
                                       RUBINO LAW LLC
                                       830 Morris Turnpike
                                       Short Hills, New Jersey 07078
                                       Telephone: (973) 535-0920
                                       Facsimile: (973) 535-0921

                                       Justin Kurt Truelove
                                       Texas Bar No. 24013653
                                       Email: kurt@truelovelawfirm.com
                                       TRUELOVE LAW FIRM, PLLC
                                       100 West Houston Street
                                       Marshall, Texas 75670
                                       Telephone: 903-938-8321
                                       Facsimile: 903-215-8510

                                       ATTORNEYS FOR PLAINTIFF,
                                       ELITE GAMING TECH LLC




                                   9
